911 F.2d 723Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Paul Allen LOVING, Plaintiff-Appellant,v.Bob RANSOME, Counselor Supervisor, Rachel E. Davis, AFSM,David A. Garraghty, Warden, Janet Terry Defendant-Appellees.
    No. 90-6584.
    United States Court of Appeals, Fourth Circuit.
    Submitted July 9, 1990.Decided July 25, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  Richard L. Williams, District Judge.  (C/A No. 88-516-R)
      Paul Allen Loving, appellant pro se.
      William W. Muse, Assistant Attorney General, Richmond, Va., for appellees.
      E.D.Va.
      AFFIRMED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Paul Allen Loving appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Loving v. Ransome, C/A No. 88-516-R (E.D.Va. Apr. 16, 1990).
    
    
      2
      We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      3
      AFFIRMED.
    
    